ANNE C.Case
          GANNON       (Cal. State Bar No.Document
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                         CASE NUMBER:

                                                                                     SA CR 15-63(A)-JLS
                                                 PLAINTIFF(S)
                              v.
 TODD CHRISTIAN HARTMAN
                                                                           NOTICE OF MANUAL FILING
                                              DEFENDANT(S).


PLEASE TAKE NOTICE:
          The above-mentioned cause of action has been designated as an electronically filed case. In accordance
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October 16, 2015                                                    Anne C. Gannon
Date                                                                Attorney Name

                                                                    Plaintiff- United States of America
                                                                    Party Represented

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G-92 (01/07)                                      NOTICE OF MANUAL FILING
